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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


  International Union of Operating         Civil Action No.
  Engineers, Local 825,
                                           23-cv-03689 (EP) (JRA)
               Plaintiff,
                                           FIRST AMENDED SCHEDULING
              v.                           ORDER

  International Longshoremen’s
  Association, et al.,

               Defendants.


      THIS MATTER having come before the Court by way of the parties’ joint

letter seeking an extension to the time to complete discovery (ECF No. 30), and for

good cause shown,

      IT IS, on this 15th day of December 2023, ORDERED that:

   1. Written fact discovery is extended through April 19, 2024. No written fact

      discovery shall be issued or engaged in beyond that date, except upon

      application to this Court and for good cause shown.

   2. The deadline to respond to initial discovery demands is extended through

      January 19, 2024.

   3. The deadline to request leave to file a motion to add new parties or amend

      pleadings is extended through February 20, 2024.

   4. Discovery disputes (other than those arising during depositions) shall be

      brought to the Court’s attention no later than March 18, 2024.    The Court
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     will not consider any discovery dispute (other than those arising during

     depositions) brought to its attention after this date.




                                HON. JOSÉ R. ALMONTE
                                UNITED STATES MAGISTRATE JUDGE




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